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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


SOUTH BOSTON ENERGY, LLC D/B/A
NOVEC ENERGY PRODUCTION
HALIFAX COUNTY BIOMASS,

       Plaintiff,

v.                                                           No. 1:18-cv-00596-LO-MSN

HARTFORD STEAM BOILER SPECIALTY
INSURANCE COMPANY,

       Defendant.



                         STATEMENT OF UNDISPUTED FACTS



       In accordance with this Court’s June 6, 2018 Order [Doc 4], this statement of undisputed

facts is submitted together by (a) the Plaintiff, South Boston Energy LLC, d/b/a/ NOVEC Energy

Production Halifax County Biomass, a wholly owned subsidiary of Northern Virginia Electric

Cooperative (herein referred to collectively as “NOVEC”); and (b) the Defendant, The Hartford

Steam Boiler Specialty Insurance Company (“HSB”).

       This statement is intended to be neutral as to the disputes that exist between the parties,

without favoritism to one party or the other.

The Parties

       1.      The Plaintiff, Northern Virginia Electric Cooperative, or “NOVEC” for short, is a

Virginia corporation with its principal place of business in Manassas, Virginia.




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       2.      The Defendant Hartford Steam Boiler Insurance Company, or “HSB” for short, is

an insurance company engaged in the business of selling contracts of insurance, including in the

Commonwealth of Virginia.

The NOVEC Power Plant

       3.      In 2013, NOVEC opened an “Energy Production Biomass Plant” in South Boston,

Halifax County, Virginia (southwest of Richmond) (the “South Boston Plant”).

       4.      The South Boston Plant generates electricity using a “50 Megawatt Alstom Steam

Turbine Generator”—the “Turbine” for short.

       5.      The Turbine was manufactured by a company named Alstom Power, which is

now part of General Electric (“GE”).

The HSB Insurance Policy

       6.      NOVEC purchased “boiler and machinery” insurance from HSB to cover the

Turbine and other plant equipment, subject to the terms and conditions of the policy.

       7.      The HSB boiler & machinery policy issued to NOVEC is policy

no. NHX5212031, covering the period December 31, 2015 through December 31, 2016 (the

“Policy”).

       8.      The Policy provides $175 million limits of liability for “Property All Risk,”

excess of a $500,000 “per Occurrence” deductible.

NOVEC’s Discovery of Foreign Metal Part

       9.      In the spring of 2016, NOVEC took the Turbine offline for a regularly scheduled

maintenance inspection.




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        10.    The regular maintenance involved a borescope inspection into the interior of the

Turbine (basically, a flexible tube with a camera). The borescope inspection was conducted by

the manufacturer Alstom on April 28, 2016.

        11.    The borescope inspection revealed a piece of foreign metal lodged inside the

Turbine that was not part of the Turbine’s design. It had been inside the Turbine since the

manufacture and assembly of the Turbine and remained there until it was discovered in April of

2016.

The Insurance Claim

        12.    On May 16, 2016, NOVEC first provided notice to HSB of the insurance claim

under the HSB Boiler & Machinery insurance policy.

        13.    On May 18, 2016, HSB acknowledged receipt of the insurance claim and assigned

adjuster Jill Baur to handle the claim.

        14.    NOVEC submitted a total claim to HSB for $1,270,635, for the cost to

disassemble the Turbine, repair the damage to blades and seal strips, reassemble the Turbine, and

other expenses related to the damage. Less a deductible of $500,000, NOVEC asked HSB to pay

the balance of $770,635.

Dated: February 14, 2019                  Respectfully submitted,

                                          /s/ Kristin C. Davis

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